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 1   John A. White, Jr., Esq., SB#1741
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 4   795-322-1228 (fax)
     john@whitelawchartered.com
 5   Attorney for Debtors

 6
                           UNITED STATES BANKRUPTCY COURT
 7
 8                                   DISTRICT OF NEVADA
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      IN RE: SILVER STATE                                  Case No. 21-14978-abl (Chapter
13    BROADCASTING, LLC                                    11)
14                                                         Jointly Administered with:
      ___ AFFECTS THIS DEBTOR.                             21-14979-abl Golden State
15    ___ AFFECTS GOLDEN STATE                             Broadcasting, LLC
      BROADCASTING, LLC                                    21-14980-abl Major Market
16    ___ AFFECTS MAJOR MARKET                             Radio LLC
17    RADIO LLC                                            NOTICE OF APPEARANCE
       X AFFECTS ALL DEBTORS.                              AND REQUEST FOR NOTICE
18                                                         Hearing Date: N/A
                                                           Hearing Time:
19
20      Please take notice that John A. White, Jr. hereby appears as counsel for the

21   Debtors. Any notices should be directed as follows:

22      JOHN A. WHITE, JR., Esq.,
        WHITE LAW CHARTERED,
23      335 West First St., Reno, NV, 89501;
24      telephone: (775) 322-8000
        Email: John@whitelawchartered.com;
25
        Respectfully submitted this 16th day of April, 2023.
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 1                                                 WHITE LAW CHARTERED
 2
 3
 4                                                 By:_/s/ John White
 5                                                    John A. White, Jr.
                                                   Attorney for the Debtors
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